      Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 1 of 26




                                                               Date: August 15, 2022


TO:
OFFICE OF THE C�ERK
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA SAN FRANCISCO
450 Golden Gate AVE Box 36060
San Francisco CA 94102-3489


ATTN:
Ms. Anna Sprinkles
DEPUTY CLERK OF THE UNITED STATES DISTRICT COURT


REF:
Auxiliary Case I - Request for Preliminary Evaluation of Ex Parte Motions & Case


Hi Anna,


       Hope all is well with you and truly pleased to meet you! Thank you so much
for your very thoughtful response on June 21, 2022! Gratefully appreciated that!


       My case is that Nicole Prause, a current resident of California, brought in
false sexual harassment and false copyright claims to RPI, when I was a student.
RPI suspended me for ~88 years (forcing me to withdraw a lawful publication, titled
«female sexual responses using signal processing technique», published in the
«journal of sexual medicine» or the «JSM paper») and causing unlimited injuries.




                         PRIVATE AND CONFIDENTIAL
     Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 2 of 26




       Enclosed please find the preliminary pre-filing materials.



       Our understanding is that RPI's newly appointed counsel, Mr. Cook, may be

interested to settle our case. My goal is to settle the case as soon as practicable and

of course that is not an option.



      Would you please postpone all your Court fees, costs & expenses to possibly

December 31, 2029? Really appreciate that. Whenever the case is settled, I will pay

back all the fees, costs & expenses of your Court, according to the future prices. For

instance, if we may reach a settlement agreement in 2027, your Court fees, costs &

expenses will be paid then, based on the 2027 prices.



      Unfortunately, RPI unlawfully does not release the case materials to us and

does not cooperate on the discovery, meet & confer, etc., under the Federal Rules, and

we are forced to include many case facts, therefore our cases will be long. Is that okay?



      Please feel free to take your time, possibly evaluate the preliminary draft of

our first case, and possibly show the JSM paper to your Judge(s).



      Would you kindly inform and ask one of your Judges that RPI does not release

the case materials under the Federal Rules of Civil Procedure and see if a Judge may
be willing to sign a [proposed] Court Order, before the final original complaint is filed?



       I have a confidential Sacramento (CA) address. Instead, please use

«jroel 776@gmail.com», which might be easier to communicate.




                         PRIVATE AND CONFIDENTIAL
     Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 3 of 26




         How would you like to communicate? If you would like to mail any
information, please use: «5 Thomas Mellon CIR STE 153 San Francisco CA 94134
USA» and please feel free to leave your voicemails at «332-203-2232».


         How would you like parties to communicate? Would you please possibly
observe and witness the communication of two parties (either by email or mail)?


         Our matters are obviously too complex. Would you like to manage the case
«partly informally» or «completely formally»? For instance, if your Court would
prefer informal actions, we request a partial summary judgement for our ex parte
motion on the fact that «the JSM paper is lawful».


         I'm so grateful for your time and help in advance, and we hope you have a
very wonderful day!




J. Roe
5 Thomas Mellon CIR STE 153
San Francisco CA 94134-2502
jroel 776@gmail.com
332-203-2232




                          PRIVATE AND CONFIDENTIAL
     Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 4 of 26




PS: The contact info of defendant's counsel and others are:
             Rensselaer Polytechnic Institute
             110 8th ST Troy BLDG 3rd FL
             Troy NY 12180-3590 USA
             ATTN: Mr. Craig A. Cook, General Counsel & Secretary
             Phone: 518-276-8829
             Email: cookc5@rpi.edu


             Rensselaer Polytechnic Institute
             110 8th ST Troy BLDG 3rd FL
             Troy NY 12180-3590 USA
             ATTN: Ms. Sandra Brown, Associate General Counsel
             Phone: 518-276-4238
             Email: browns16@rpi.edu


             Rensselaer Polytechnic Institute
             110 8th ST Troy BLDG 3rd FL
             Troy NY 12180-3590 USA
             ATTN: Ms. Mary Coonradt, Executive Assistant to General Counsel
             Phone: 518-276-3777
             Email: coonrm@rpi.edu




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      Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 5 of 26




 1 FROM:
 2 J. Roe (STUDENT ID NO.-)
 3 ADDRESS IS CONFIDENTIAL AND
 4 PROTECTED UNDER THE LAW;
 5 jroel 776@gmail.com
 6
 7 TO:
 8 Rensselaer Polytechnic Institute
 9 110 8th ST Troy BLDG 3rd FL
10 Troy NY 12180-3590 USA
11     COUNSEL:
12     Craig A. Cook, Office of the General Counsel & Secretary
13
14     ATTN(S):
15     Martin A. Schmidt, Ph.D., Office of the President
16     Arthur F. Golden, JD, Chair of the Board of Trustees
17     Wanda Denson-Low, JD, Vice Chair of the Board of Trustees
18     Curtis R. Priem, Secretary of the Board of Trustees
19     Prabhat Hajela, Office of the Provost
20     Curtis N. Powell, Office of the Vice President of Human Resources
21     John E. Kolb, Office of the Vice President, Information Services and Technology and
22     Chief Information Officer
23     Stanley M. Dunn, Office of the Vice Provost, Dean of Graduate Education
24     Dennis E. Gornie, Office of the Graduate Education
25     Travis T. Apgar, Office of the Dean of Students
26     Shekhar S. Garde, Office of the Dean of Engineering
27     David V. Rosowsky, Former Dean of Engineering
28

     INFORMATIVE COOPERATIVE SETTLEMENT
     PAGE 1 OF 3                   ANTELITEMMOTAM                          CONFIO�
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       Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 6 of 26




 1         TITLE: INFORMATIVE COOPERATIVE SETTLEMENT
 2   (I) PARTIES
 3      (a) Plaintiff. Plaintiff is a former student of RPI, a resident of the County of San
 4         Francisco, State of California.
 5      (b) Defendant. Defendant is a private university with a headquarter campus in
 6         the County of Rensselaer, State of New York.
 7 (II)    COOPERATIVE SETTLEMENT
 8         This informative instrument is not an offei·, is to inform the Defendant that
 9 Plaintiff is in communication with the Cou1·ts regarding our cases of "Roe v. RPI" (to be
10 filed) and has received a response from the Courts.
11         Plaintiff has never moved adversely against Defendant or any other entity.
12 However, the following evidence suggests that Defendant is moving adversely against
13 Plaintiff by blocking Plaintiffs access to Rensselaer Self-Service Information System
14 (hereinafter "RSSIS"), which Plaintiff had access to, prior to January 20, 2022, and
15 because in January 9, 2022, Plaintiff disclosed extensive cooperative evidence to
16 Defendant's General Counsel within an Official Notice of Violation, thereupon
1 7 Defendant used said evidence and adversely closed RSSIS for "Former Constituents",
18 rather than resolving the matters:
19
20
     Rensselaer Self-Service Information System
21
22   As of January 20, 2022, Former Constituents no longer have access to SIS/RSS.

23
24   Former Students or Employees- please email your RIN, full name and information needed to:
     Students.: Registrar
25   Employees: Human Resources
26
27
     Current Students/Employees: Rensselaer Self-Service Login with Multi-Factor Authentication
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     INFORivIATIVE COOPERATIVE SETTLEMENT
     PAGE20F3                          ANTE LITEM MOTAM                              .�flOENTiij:J
       Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 7 of 26




 1        Cases of "Roe v. RPI" -upon filing- will unfavorably affect both Parties, which
 2 Defendant shall be responsible for. Therefore, Plaintiff, in the most humble terms,
 3 suggests that an urgent undisclosed settlement may be appropriate to protect both
 4 Parties and all other thii·d-parties, among other undisclosed reasons.
 5        In short, Plaintiff will urgently consider an Undisclosed Non-Binding Settlement
 6 Agreement to Agree ("UNBSAA''), if Defendant may agree to draft and prepare an
 7 UNBSAA, at their own risk and cost. Via an UNBSAA, Defendant shall execute:
 8     (a) deposition of one check for partially covering damages of Plaintiff with a non­
 9        negotiable amount of-------and no later than July 31, 2022; and
10     (b) permanent access to.e@rpi.edu, transcripts and RSSIS of Plaintiff.
11        This ante litem instrument expires in 30 days without any furthei· notification.
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                                                 Very Respectfully Submitted,
16
17   Date: 07/09/2022                            Signature:   i2�
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19                                               Na1ne: "J. Roe"
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     INFORNIATIVE COOPERATIVE SETTLEMENT
     PAGE 3 OF 3                   ANTE LITEM MOTAM                         CONflOENTIAL
       Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 8 of 26




 1 FROM:
 2 J. Roe (STUDENT ID NO.-)
 3 ADDRESS IS CONFIDENTIAL AND
 4 PROTECTED UNDER THE LAW;
 5 jroel 776@gmail.com
 6
 7 TO:
 8 Rensselaer Polytechnic Institute
 9 110 8th ST Troy BLDG 3rd FL
10 Troy NY 12180-3590 USA
11     COUNSEL:
12     Craig A. Cook, Office of General Counsel & Secretary
13
14     ATTN(S):
15     Martin A. Schmidt, Ph.D., Office of the President
16     Arthur F. Golden, JD, Chair of the Board of Trustees
17     Wanda Denson-Low, JD, Vice Chair of the Board of Trustees
18     Curtis R. Priem, Secretary of the Board of Trustees
19     Prabhat Hajela, Office of the Provost
20     Curtis Powell, Office of Vice President of Human Resources
21     John Kolb, Office of Vice President, Information Services and Technology and Chief
22     Information Officer
23     Stanley Dunn, Office of Vice Provost, Dean of Graduate Education
24     Travis Apgar, Office of Dean of Students
25     Shekhar Garde, Office of Dean of Engineering
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27
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     DUE NOTICE OF LITIGATION
     PAGE 1 OF 3                         NOTICE
         Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 9 of 26




 1                          TITLE: DUE NOTICE OF LITIGATION
 2 (I) PARTIES 1
 3       (a) Plaintiff. Plaintiff is a former student of RPI, a resident of the County of San
 4           Francisco, State of California.
 5       (b) Defendant. Defendant is a private university with a headquarter campus in
 6           the County of Rensselaer, State of New York.
 7 (II) NOTICE
 8           This notice of litigation is hereby served as an informative instrument to the
 9 Defendant that Plaintiff intends to file a series of cases against Defendant, and that the
10 Counsel of Defendant and their appropriate offices are priorly informed and properly
11 notified.
12 (Ill) BREIF
13           The details are as follows:
14       (a) cases will be filed in the Federal Courts, in the County of San Francisco;
15       (b) venue is proper;
16       (c) cases are timely;
17       (d) cases are not instant;
18       (e) Plaintiff will submit reasonable requests to Defendant from time to time (e.g.,
19           discovery process);
20       (f) Plaintiff will respond to reasonable requests or requirements of Defendant;
21       (g) communication, negotiation and settlement of the cases remains open; and
22       (h) Plaintiff does not require judicial formalities.
23
24   1 Parties certify that any ·and all the information herein are under the penalty of perjury and that said
     information shall be true and correct, and if inadvertently false, the liable party or any other involved
25   entities, if applicable, shall inform all the parties forthwith, via email or mail, and otherwise overlook if
     such inadvertent defects are de minimis. Pursuant to 18 U.S.C. § 1001, parties certify that if any entity
26   knowingly and willfully, (1) falsifies, conceals or covers up by any trick, scheme, or device a material fact,
     (2) makes any materially false, fictitious, or fraudulent statement or representation, or
27   (3) makes or uses any false writing or document knowing the same to contain any materially false,
     fictitious, or fraudulent statement or entry, may be liable to a $10,000 fine or 5 years imprisonment, or
28
     both.
     DUE NOTICE OF LITIGATION
     PAGE 2 OF       3                              NOTICE                                 I�.··       .
                                                                                            co.NflOENllA�
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      Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 10 of 26




 1        If Defendant objects or dissents to any issue, email communication within 3
 2 business days is considered by Plaintiff.
 3
 4
                                                Very respectfully submitted,
 5
 6
     Date: 07/01/2022                           Signature: ¼e,
 7
 8
                                                Name: "J. Roe"
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     DUE NOTICE OF LITIGATION
     PAGE 3 OF 3                          NOTICE
      Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 11 of 26




 1 FROM:
 2 J. Roe (STUDENT ID NO.
 3 ADDRESS IS CONFIDENTIAL AND
 4 PROTECTED UNDER THE LAW;
 5 jroel 776@gmail.com
 6
 7 TO:
 8 Rensselaer Polytechnic Institute
 9 110 8th ST Troy BLDG 3rd FL
10 Troy NY 12180-3590 USA
11     COUNSEL:
12     Craig A. Cook, Office of General Counsel & Secretary
13
14     ATTN(S):
15     Martin A. Schmidt, Ph.D., Office of the President
16     Arthur F. Golden, JD, Chair of the Board of Trustees
17     Wanda Denson-Low, JD, Vice Chair of the Board of Trustees
18     Curtis R. Priem, Secretary of the Board of Trustees
19     Prabhat Hajela, Office of the Provost
20     Curtis Powell, Office of Vice President of Human Resources
21     John Kolb, Office of Vice President, Information Services and Technology and Chief
22     Information Officer
23     Stanley Dunn, Office of Vice Provost, Dean of Graduate Education
24     Dennis Gornie, Office of Graduate Education
25     Travis Apgar, Office of Dean of Students
26     Shekhar Garde, Office of Dean of Engineering
27
28

     ACCELERATED DISCOVERY
     PAGE 1 OF 3                 REQUEST - DISCOVERY
      Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 12 of 26




 1                      TITLE: ACCELERATED DISCOVERY
 2   (I) PARTIES
 3     (a) Plaintiff. Plaintiff ("Discoverer") is a former student of RPI, a resident of the
 4        County of San Francisco, State of California.
 5     (b) Defendant. Defendant ("Discoveree") is a private university with a
 6        headquarter campus in the County of Rensselaer, State of New York.
 7 (II)   REQUEST FOR COOPERATIVE DISCOVERY
 8        This is to request electronic or non-electronic copies of any and all information of
 9 Discoverer from 2008 to this date - within any and all assets of Discoveree, including
10 but not limited to the Offices of Graduate Education (managed by Mr. Stanely Dunn
11 and Mr. Dennis Gornie), Offices of Students (formerly managed by Mr. Mark Smith
12 and currently managed by Mr. Travis Apgar), Offices of Engineering (formerly
13 managed by Mr. David Rosowsky and currently managed by Mr. Shekhar Garde) and
14 any other assets of Discoveree, and to request electronic access to the email address
15 and Rensselaer Self-Service Information System (SIS) username of Discoverer
16 (managed by Mr. John Kolb).
17   (Ill) BREIF
18        Upon the Federal Laws, this cooperative discovery request is hereby transmitted
19 to Discoveree, to be completed no later than 30 days.
20        Please note that the Federal Courts encourage that the discovery of
21 electronically stored information (hereinafter "ESI") shall be performed by the parties
22 under the rule 1 of the Federal Rules of Civil Procedure such that "... to secure the just,
23 speedy, and inexpensive determination of every action and proceeding ... ", among
24 others (see Fed. Rules Civ. Proc., rule 1, 28 U.S.C.; see also 28 U.S.C. Part V chs. 115,
25 117 & 119; 18 U.S.C. ch. 223; 5 U.S.C. § 552; and 7 CFR § 2.25 (a)(l) et seq.). The
26 Federal Courts recommend informal or formal cooperation among the parties on issues
27 associated to preservation, collection and production of ESI, among other issues, for
28 whichjudicial intervention is unnecessary. Therefore,

     ACCELERATED DISCOVERY
     PAGE 2 OF 3                  REQUEST - DISCOVERY                      I   CONfl.OENTIA\
      Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 13 of 26




 1     (a) temporary access to Rensselaer Self-Service Information System is very

 2        respectfully requested;
 3     (b) temporary access to the email address of Discoverer (i.e.• e@rpi.edu) is very
 4        respectfully requested; and
 5     (c) any and all files with any formats (e.g., text, voice, video) containing - whether

 6        partially or fully- any and all information of Discoverer or any information that

 7        Discoverer may be a relevant party of, from January 2008 to July 2022, is very

 8        respectfully requested.
 9        If Discoveree dissents to any issues, or if Discoveree has any requirements, or for

10 any other reasons, email communication within 3 business days is requested and

11 acceptable by Discoverer.

12
                                                  Very respectfully submitted,
13


                                                               ¼e.
14
     Date: 07/05/2022                             Signature:
15

16
                                                  Name: "J. Roe"
17

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     ACCELERATED DISCOVERY
     PAGE 3 OF 3                    REQUEST - DISCOVERY                     CONfl,Q�NllA\
     Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 14 of 26


tiiiiiiiiiiiii                           THE UNITED STATES OF AMERICA                                       January 9, 2022

tiiiiiiiiiiiii                                     IN GOD WE TRUST                        Official Notification of Violation

tiiiiiiiiiiiii                               THE STATE OF CALIFORNIA                                           Action Opens




Mr. Craig A. Cook
Rensselaer Polytechnic Institute ("RPI")
Office of the General Counsel & Secretary
1 1 0 8th ST Troy BLDG 3rd F L
Troy NY 1 2 1 80-3590 USA
cookc5@rpi .edu
51 8-276-8829

Mr. Cook,
        This is an official notification of violation to notify you that RPI is in the violation of
Title IX, the Copyright Law, Confidentiality, Privacy, Diversity, Discrimination , Title 20 -
Education - Laws, among others, as it pertains to specifically two counts of
Administrative Holds, among others, on Rensselaer Identification Number, -·
and RPI is i n the possession of significant amount of information and evidences, and
resulting incurred and incurring damages are in excess of -million .
        Please act, as appropriate.

Respectfully,
- '9 e


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 Page 1 of 2                                 PRIVATE ANO CONFI DENTIAL                         AGREEMENT TO AGREE
  Subject to mask ng the pr vate and conf dent a nformal on, f app cab e or necessary, th s document can be subm tted to the
                                                           Courts.
     Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 15 of 26


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''''''''''''"
                                         THE UNITED STATES OF AMERICA                                       January 9, 2022

tiiiiiiiiiiiii                                        IN GOD WE TRUST                       Official Notification of Violation

                                             THE STATE OF CALIFORNIA                                           Action Opens




 We , the undersigned , certify that all the information herein are under the penalty of
 perjury that said information shall be true and correct, and if inadvertently false, the
 liable party or any party, if applicable, shall inform the other party forthwith , via email
 or mail, and otherwise overlook if such inadvertent defects are de minimis.

 Pursuant to 1 8 U .S .C . § 1 00 1 , we certify that if any individual knowingly and willfully,

 ( 1 ) falsifies, conceals or covers up by any trick, scheme, or device a materia l fact;

 (2) makes any materially false, fictitious, or fraudulent statement or representation; or

 (3) makes or uses a ny false writing or document knowing the same to contain any
 materially false, fictitious, or fraudulent statement or entry;




                                                                /.
 may be liable to a $1 0 ,000 fine or 5 years imprisonment, or both .


rlinl
     e

 Individual ("Petitioner ")
                                                  I           Signature
                                                                                        I                        1 /9/2022

                                                                                                                       Date



 Rensselaer Polytechnic
                                                  I                                     I
                                                              Signature                                                Date
 Institute ("Respondent")




Page 2 of 2                              rA PRIVATE AND CONFIDENTIAL                            AGREEMENT TO AGREE
  Subject to mask ng the pr vale and conf dent a nformat on, f app cab e or necessary, th s document can be subm tted to the
                                                           Courts.
              Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 16 of 26
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ORIGI NAL RESEARCH-ANATOMY/PHYSIOLOGY


Female Sexual Responses Using Signal Processing Techniques
  J. Roe                              Author 2                    Author 3
-111111 �e, MSc,*                                   , MSc,* and                   , MAt
*Rensselaer Polytechnic Institute-Department of Mechanical, Aerospace and Nuclear Engineering , Troy, NY, USA;
tRensselaer Polytechnic Institute-School of Humanities, Arts, and Social Sciences, Troy, NY, USA

DOI : 1 0. 1 1 1 1 /j.1 743-61 '09.2009.001 452.x


A B S T R A C T --------------------------------

lntroductio11. An automatic algorithm for processing vaginal photoplethysmograph signals could benefit researchers
investigating sexual behaviors by standardizing interlaboratory methods. Female sexual response does not co-vary
consistently in the self-report and physiological domains, making the advancement of measurements difficult.
Automatic processing algorithms would increase analysis efficiency. Vaginal pulse amplitude (VPA) is a method used
to measure female sexual responses. However, VPA are problematic because of the movement artifacts that impinge
on the signal. This article suggests a real-time approach for automatic artifact detection of VPA signals. The
stochastic changes (artifacts) of VPA are characterized mathematically in this research, and a method is presented to
automatically extract the frequency of interest from VPA based on the autocorrelation function and wavelet analysis.
Additiona1ly, a calculation is presented for the vaginal blood flow change rate (VBFCR) during female sexual arous�11
using VPA signals.
Aim. The primary aim is to investigate the experin1emal VPA measures based on tl1eoretical techniques. Particu­
larly, the goal is to introduce an automatic monitoring system for female sexual behaviors, which may be helpful for
experts of female sexuality.
Methods. The methods in the research are divided into experimental and theoretical parts. The VPA in twenty
women was measured by :a common vaginal photoplethysmography system in two conditions. Each subject was
tested watching a neutral video followed by an erotic video. For tl1eoretical analysis, an approach was applied based
on wavelet transform to process tl1e VPA.
Main Outcome Nleasures. Introduction of :an automatic and real-time monitoring system for female sexual behav­
iors, automatic movement artifact detection, VBFCR, first application of wavelet transform, and correlogram in VPA
analysis.
Remits. The natural and significant frequency information of VPA signals was extracted to automatically detect
movement artifacts and to investigate the effects of erotic videos on female sexual responses.
Concl11sio11s. The computerized automatic systems based on advanced matl1 and statistics have several advantages for
human sexuality research such as: savings in time and budget; increase in the accuracy of results; and reduction in
human errors for data analysis.                                               Female sexual responses using signal
processing techniques. J Sex Med 2009;6:3086-3096.
Key Words. Female Sexual Responses;· Female Sexual Arousal; Vaginal Photoplethysmography; Vaginal Pulse
Amplitude; Vaginal Blood Flow Change Rate; Erotic Video; Movement Artifact Detection; Psychophysio Signal
Processing; Feature Extraction; Wavelet; Autocorrelation; Time-Frequency Analysis; Time Series Analysis;
Daubechies 44
      Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 17 of 26
Female Sexual Responses Using Signal Processing Techniques                                                                        3 087

Introduction                                                 Wavelet transform, which is a simultaneous
                                                          time frequency [29) and the developed version

H      uman sexual arousal is unique in psycho­
       physiology for its specificity [ 1 ,2), but con­
siderable debate exists concerning the methods for
                                                          of short-time Fourier transform or windowed
                                                          Fourier transform, has been introduced by ­
                                                          et al. in VPA analysis [3 0) . The first publication
measuring female sexual response [3) . The accu­          about the application of wavelet transform in
rate and reliable measurement of female physi­            VPA processing was presented in a article on
ological sexual arousal has been complicated by a         psychophysio-signal processing concept at the
lack of understanding of biological processes that        3 5th annual Northeast Bioengineering Confer­
contribute to the female sexual arousal response.         ence at the MIT-Harvard Division of Health in
For example, the function of differing ure­               2009 [3 0) . The same group reported the applica­
throvaginal thickness currently is being character­       tion of wavelet transform for electroence­
ized [4] . In the past, female sexual arousal has been    phalogram (EEG) signals recorded for
measured by thermography [5] , labial temperature         psychophysiological purposes [3 1 ) . After that,
[6) , labial photoplethysmography [7], clitoral           Prause et al. [26) used wavelet transform to auto­
Doppler [8] , and more commonly with vaginal              matically remove the movement artifacts in VPA.
photoplethysmography. Most devices are thought            This automatic method is a great collaboration
to indirectly measure changes in genital blood            of a clinical psychologist and signal processors,
flow, which is thought to contribute to genital           although VPA artifact removal based on the pro­
engorgement associated with sexual arousal.               posed denoising method by signals reconstruction
   With the advent of the vaginal plethysmograph          would not be mathematically appropriate from few
system [9] , the researchers achieved quick progress      aspects, and needs to be improved upon. In their
in various areas of gynecology [ 10-2 3 ] , showing the   research, the VPA would be cleaned of movement
significance of this measure. However, vaginal pho­       artifacts by the proposed method, but at the
toplethysmography, by far the most frequently used        expense of losing raw VPA data in the whole
proxy of physiological sexual arousal, has been criti­    signal. Fi gure 6 in their article illustrates the slight
cized for both practical and theoretical reasons.         changes in data that should be unaffected by arti­
Because of the high sensitivity of the sensor, move­      fact removal when their cleaning method is uti­
ment artifacts throughout the recorded signals have       lized. The movement artifacts will be removed
been a challenge in this area. Scientists have com­       faster than manual methods as Prause et al. [26)
monly removed the movement artifacts by hand­             reported. Other drawbacks of the algorithm pro­
scoring [2 4] . The prior methods are still useful for    posed by Prause et al. [2 6) include improper selec­
and applicable to vaginal pulse amplitude (VPA)           tion of wavelet basis and type of transform.
analysis. VPA signals most typically are quantified          In contrast, this article suggests an original
as the average pulse amplitude (peak-to-trough)           technique to automatically detect movement arti­
within a time or condition bin. However, there have       facts in VPA signals without changing the rest of
been a few efforts to characterize the signal using       the VPA. The techniques investigated are not
other methods. Fast Fourier transform is perhaps          dependent on individual signal or subject charac­
the most common, though an infrequent, alterna­           teristics, which indicate generalizability across
tive method for quantifying VPA. Several articles         laboratory hardware and participant samples. The
characterizing the spectral tension of VPA sug­           index is referred to as the vaginal blood flow
gested that the peak energy value be used [2 5). This     change rate (VBFCR) to reflect the measure of
approach would be problematic because of the              time-sensitive blood flow change, as compared to
impact of artifacts. Artifacts are not restricted to a    previous studies, which may use average condition
particular frequency band [26) . Levin and Wylie          values and probability tests.
have suggested a different quantification method
based on the supposition that vasomotion drives           Methods
apparent changes in vasodilation [27) . Their
method includes examining the ratio of high to low        Participants
VPA peaks, and has not yet been replicated. Others        Participation for this research [2 6) was solicited
have used hierarchical linear modeling for investi­       through newspaper ads and flyers requesting vol­
gating concordance of VPA with self-report [28),          unteers for a study of sexual response. To be eli­
which might require initial artifact screening based      gible, participants needed to have no problem
on binned amplitude measures.                             becoming sexually aroused before the study. Volun-
                                                                                    T C -•• �if -rl 'l f\f\ 0 . t: . '.2 f\Ot:;   '.2 f\()t:;
              Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 18 of 26
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Table 1    Demographics of participants [26]                    experimental procedure were explained again, and
                                               Mean (standard   participants inserted the vaginal probe in a private
Variable                      Number (%)       deviation)       room [26] .
Age                                            23.5 (3.3)
Lifetime sexual intercourse                    1 6.4 (27.8)
   partners                                                     Measure
Years of education                             1 5.3 (1 .7)
Ethnicity                                                       Vaginal Photoplethysmograph
   European American          18   (78.3)
   African American            3   (1 3.0)                      The vaginal photoplethysmograph monitors the
   Asian                       1   (4.3)                        changes in backscattered light in the vaginal canal
   Hispanic                    1   (4.3)
How important is religion?
                                                                to reflect sexual arousal. An embedded light
   Very important             3    (1 3.6)                      source, usually infrared, generates a light signal
   Important                  8    (36.4)                       that is reflected back to a receiving photocell. The
   Slightly important         4    (1 8.2)
   Not important              7    (31 .8)
                                                                received signal is interpreted as an index of vaso­
                                                                congestion, although it is likely to reflect several
                                                                poorly-characterized physiological processes in
                                                                the vagina [7] . The signal pulses with heartbeats,
teers were informed that the research would
                                                                which typically are around 60 bpm in the labora­
require watching erotic videos, consuming alcohol,              tory, and slow waves concordant with breathing
and recording physiological sexual arousal. All can­            rate are evident in many participants, which may
didates were offered the opportunity to preview the
                                                                be influenced by vaginal canal length.
lab prior to deciding to participate, although none                Two signals typically are extracted. The first is
of them accepted. Participants were not pregnant
                                                                the DC signal, which provides an index of the total
and were tested in the follicular phase. Although               amount of blood. The second is the AC signal,
VPA data was recorded from the participants after
                                                                abbreviated as VPA, which reflects· phasic changes
they consumed alcohol, this data was not used for
                                                                in the vascular walls that result from pressure
this research. Twenty-two women participated in
                                                                changes within the vessels. Both signals have been
the clinical tests (see Table 1). The data from two             found to be sensitive to responses to erotic stimu­
participants were excluded from additional pro­                 lation [3 2]. However, the construct validity ofVPA
cessing, one because the VP sensor was dislodged
                                                                is better established [3 3 ] and is used in this study.
during testing, and the second because incomplete               VPA was collected using the Biopac (model
data were captured during the test [26] .                       MP l O0 (Biopac Systems, Inc. Goleta, CA, USA))
                                                                data acquisition system. The signal is first band­
Film Stimuli                                                    pass filtered between 0.5 and 3 0 Hz. The sampling
Participants were shown 3 -minute excerpts from                 rate was fixed at 80 Hz.
sexual videos. These excerpts showed a consensual,                 The power spectral density (PSD), which is a
erotic, heterosexual encounter, edited to equal                 common mathematical tool based on Fourier
parts kissing/foreplay, oral sex being performed on             transform to convert time domain data to fre­
the man and then the woman, and penile-vaginal                  quency domain, is illustrated in Fi gure 1 for two
intercourse. To establish a baseline, a documentary             classes of VPA to demonstrate the frequency con­
about underwater creatures [22] was shown for 1 5               tents of VPA in two classes. The differences
minutes before the start of the sexual video [26] .             between the frequency contents are mainly caused
                                                                by the movement artifacts.
Procedure
The participants received written information that              Nature of VPA Signals
explained the experimental procedures in detail so              A signal is stationary if its properties, such as the
that their decision to participate could be an                  mean and variance, are constant throughout time.
informed one. Vaginal photoplethysmography and                  VPA signals, which are a time series signal reflect­
the sterilizing procedures were explained to the                ing phasic changes in vaginal engorgement based
participants. A trained female experimenter was                 on heartbeats [3 2], are classified as almost stationary
used to test participants individually. Upon arrival            signals as the properties of these signals are not
at the laboratory, participants read and signed an              completely constant throughout time. This feature
informed consent form and completed a question­                 makes the processing of the signals complicated
naire about sexual experiences. All details of the              in time-domain. Therefore, simultaneous time-
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Figure 1 Power spectral density of
                                                       2       3     4       5           2      3   4        5
recorded vaginal pulse amplitude in
two classes from one subject.                                        Frequency [Hz]



frequency wavelet analysis [2 9] , the developed       easier. Segmentation is more significant when
version of short-time Fourier transform or win­        making a real-time system. For example, if signals
dowed Fourier transform, was used to extract the       are broken up into 3 0-second segments, each cal­
significant features of VPA. VPA can be further        culation requires 3 0 seconds of delay for signal
categorized as dynamic signals, which are either       capturing, as well as processing time. If we reduce
periodic or aperiodic. A complex periodic signal       the segmentation time to one second, calculations
has more than one period. VPA are complex              take one second to record, plus processing time.
periodic signals.                                      Smaller segments make the system faster in real
                                                       time. In this case, a one second segmentation time,
                                                       which is close to heartbeat frequency, would be a
Data Analysis
                                                       proper choice.
The recorded VPA [26] are analyzed using                   In signal processing, depending on the process­
MATLAB software (The MathWorks, Inc, Natick,           ing task, which could be offiine or online, segmen­
MA, USA). The developed signal processing tech­        tation can be taken into consideration. For
nique is applied to analyze recorded VPA in this       example, if the process is offiine, the larger seg­
research. The common purpose of signal process­        ments could be considered for signal segmenta­
ing techniques is to extract compact and meaning­      tion. To find the similar wavelet, the recorded VPA
ful features from the bulky signals. For example, in   signals are segmented into 1 2-second signals as the
this research we have 1 80 x 80 data points for 1 80   calculations are offiine. Therefore, each 3 -minute
seconds of recorded VPA with a sampling fre­           class of VPA is divided into 1 5 segmented signals
quency of 80 Hz for each class. A sequence of          (1 5 x 1 2 seconds) in order to find the most similar
mathematical algorithms is used to extract mean­       mother wavelet function across VPA [3 0] . The
ingful information from the large signals in a short   mother wavelet selection is quite independent of
amount of time. For preprocessing of the signals,      VPA computations in this research.
one goal could be noise removal, which is mainly           For automatic frequency identification and arti­
related to movement artifacts in this case. Mean­      fact detection, VPA are segmented into one­
ingful feature extraction would be referred to         second units in order to have not only time
extraction of VBFCR for this case. The proposed        limitation of real-time processing, but also more
algorithm, which is further explained below, has       precise focus on time-domain throughout 3
compacted the VPA signals by a factor of 80. This      minutes for artifact detection (see Figure 2).
means that one number is extracted for every 80
data points of recorded VPA. This number is used           Continuous Wavelet Transform (CWT)
for the calculation of the proposed VBFCR.             Wavelet transform, the developed vers10n of
                                                       short-time Fourier transform or windowed
VPA Segmentation                                       Fourier transform, is a fast algorithm, capable of
The first step to preprocess VPA is to segment the     variable resolution in both time- and frequency­
recorded signals into smaller units. The seg­          domains, and it can be principally divided into
mented signals are actually the smaller parts of the   discrete and continuous forms [34] ; the former is
whole recorded signals, making the calculation         faster because of low computational time, but the
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                                                             wavelet function, or C\VC, was established as the
                                                             foundation of our theoretical mrnlysis.
                                                                 \Vavelet tra nsform decomposes a signal i nto
                                                             high a nd low frequencies, and ca n continue to do
                                                             so unti .l the proper decomposition level is selected.
                                                             Therefore, the signal processors can extract the
                                                             significant information by exmnining the signals in
  -2
                                                             both time ,rnd frequency domains simulta neously.
                                                             This is different from Fourier tra nsform, i n which
  -3 �----�-----�-----�
                                      2                      the information from ti me domain is lost.
                       Time (sec)
                                                                 The C\VC, the i nterpreted ou tcome of corre­
Figure 2 Segmented vaginal pulse amplitude signals in        lation between signal and mother wavelet function
neutral class recorded from one subject.                     was esta blished as the foundation of our theoreti­
                                                             cal ana lysis. Selection of mother wavelet function
                                                             and scaies a re two significant factors in wavelet
continuous form has more efficiency and reliabil­            a1rn lysis [3 7,4 1 ] . The most si milar mother wavelet
ity. CWT is applied to a nalyze VPA signals in this          function ,lcross VPA signals was sea rched. Three
research and fu rther theoretical di scussion is             hundred twenty-four mother wavelet candidates
referred to 10 lecnires on wavelets [29].                    were smdied from di fferent fa milies as further
     Wavelet transform has been used to process of a         exphlined in [42 ] . Results show tlrnt Daubechies 44
broad variety of signals [3 5 ] in various a reas, such      (db44) is the most simi lar function across our VPA
as neuroscience [ 3 6], mechanics [ 3 7 ] , medicine         i n two classes (see Figure 3). This function is tile
[ 3 8 ] , a nd biology [ W] . In this resea rch, we intro­   right existi ng function for VPA analysis whereas
duce the application of wavelet transform for                the technjque is based on the si milarity between
female sexual responses [3 0] .                              wavelet function and VPA signal. There is no need
     vVe used CvVT, which generates continuous               to repeat the calcu lations for other datasets.
wavelet coefficients (CWCs) i l lustrati ng how weU          Another drawback in the work done by Prause
a wavelet function correlates with a signal . .More          et al. could be the selection of Coi flet 5 function,
sim ply, i f the signal energy and the wavelet energy        which barely used for tl1is sort of low frequency
a re eq ual to one, wavelet coefficient may be i nter­       signals. We also selected the fifth decom posi tion
preted as ,l correlation coefficient. Correlation is a       level to decompose the VPA.
com mon statistical measure describing the degree
of li nea r dependence between two va riables i n            Autocorrelation Function
terms o f a coefficient between - 1 ,md +l . The             As a result of self cross-correlation of a one­
closer the coefficient is to either - 1 or + 1 , the         dimensiona l finite energy signal s(i), which sums
stronger the correlation between the two va riables          all point-point si milarities of tile signal witll a ti me
is. The negative and positive signs of the coeffi­           delay of 't, autocorrelation function [43] quantify­
cients indicate the direction of the linear depen­           i ng the relationship between different components
dence. The coefficient 0 implies that the two                of the signal s(t) is defined as fol lows:
variables ,He completely linearly i ndependent of
each other.                                                              Rkt ) = s * s = J: s(t)s(t + 't ) dt      (1)
     Most signa l decomposition [40] ca n be classi fied
as either pyramid or packet. In both methods,                where * i s convolution operation, meaning that
signals a re divided into a pproxi mation (low fre­          autocorrelation is a convolution of a function with
quency) and detail (high frequency) i n the first
level. In pyramid decomposition, only a pproxima­
tions are decomposed i11to higher level s after the
first level. However, in packet decomposition ,
both approxi mation and detai l are decomposed
i nto further levels. Therefore, packet decomposi­
tion offers richer content of signals. In VPA analy­
sis, the packet decomposition of continuous form
of wavelet has been used . The interpreted
outcome of correlation between signal a nd mother            Figure 3 Schematic of Daubechies 44 function.
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itself. Equation 1 expresses the basic concept of         3 . This step reveals the significant frequency
autocorrelation function.                                     information of VPA. PSD of the autocorrelated
    In fact, the autocorrelation function is a diag­          CWC are multiplied by the weight for each of
nostic tool for analyzing time series in the time             the 3 2 scales. For simplicity, these calculated
domain. Autocorrelation plots, called correlo­                values are called feature for the VBFCR and
grams, present a better understanding of the evo­             movement artifact detection algorithms. Move­
lution of a process through time by the probability           ment artifacts can be generally divided into
of relationship between data values separated by a            three small-impact, medium-impact (MI), and
specific number of time steps (lags). The correlo­            high-impact (HI) artifacts. There are slight
gram, which is used in our theoretical analysis,              changes (small artifacts) that make the VPA
plots autocorrelation coefficients on the vertical            signals slightly nonstationary (almost station­
axis, and lag values on the horizontal axis. In this          ary). Small artifacts are not discussed in this
research, a combination of autocorrelation and                research. MI and HI artifacts are classified
wavelet transform is used to process VPA signals              based on visual perception and are not stan­
[3 7] .                                                       dardized based on numerical calculations.
                                                              However, having comprehensive clinical data
Algorithm for VBFCR and Automatic                             would lead to mathematical standardization of
Artifact Detection                                            the artifacts, which is not considered in this
                                                              research. In this research, small-impact artifacts
In this research, we suggest the calculation for the
                                                              do not significantly affect the calculation of
VBFCR, which can be interpreted as the change of
                                                              VBFCR. MI and HI artifacts are illustrated in
blood flow in subjects while stimulated (e.g.,
                                                              Fi gure 4A, B, respectively, which have higher
watching an erotic video). The VBFCR is calcu­
                                                              amplitudes compared with normal portions of
lated separately for each subject. The reason for
                                                              the VPA. To make the plots more apparent in
separately calculating the VBFCR for each subject
                                                              the article, segmentation time was increased to
is that VPA signals are completely subject­
dependent, and may change depending on weight,
heart beats, size of vagina, age, or other physi­
ological factors [44] . The baseline is selected as the
average ofVPA recorded during the last 5 seconds          -
                                                          A 15

                                                          1 10
of neutral video in each class, excluding artifacts.      Ql
The baseline is defined for each subject based on         �
                                                           0
                                                                  5
the data recorded from the same subject. This              Q,
                                                                  0
                                                          �
                                                          fl)

approaches the VBFCR towards a more precise
approximation. The computational algorithm of              � -5
                                                          .;::
the VBFCR is summarized as follows:                       -g0 -1 0
                                                          ii5                               Medium-impact artifact
1 . VPA signals are segmented into one-second                    -15
    units. Therefore, there are 1 80 segmented                         5      10         15      20      25          30
    signals for each class of the VPA. CWC of the                                  Time (second)
    segmented VPA is calculated using db44 func­
                                                          B 60 �-�--�--�-----�-�
    tion and the fifth decomposition level for each
    segmented signal in each class, which leads to 2 5    � 40
    scales of CWC.                                        z.
2 . Calculated CWC is autocorrelated. The appli­           3j
                                                           C:
                                                              20              H igh-impact artifact
                                                           0
    cation of autocorrelation in wavelet coefficients      Q,
                                                                  0
                                                           �
                                                           fl)

    was introduced in 2009 by RIie and Tse as a
    powerful new tool for feature extraction [3 7].       .Q
                                                          ,._ -20
    This improves a few deficiencies in continuous        "C

    wavelet analysis, such as the generation of too
                                                           g -40
                                                          ii5
    much signal information. Trial-and-error based               -60 �-�--�--�--�--�-�
    lag is fixed at 40 in the autocorrelation plot.                     5 10       15      20 25 30
                                                                             Time (second)
    The mean of the absolute value for each series
    of CWC is called weight to be a measure of the        Figure 4 (A) Medium-impact movement artifact [30]. (B)
    strength of the VPA signals.                          High-impact movement artifact (30].
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               Sca l e= (S,31), Normal Condition                  4. Feamre calculated from the last segment of
                                                                     the VPA is compared with those calcu lated
...
N
 II
                                                                     from the other VPA segments for the VBFCR
 QI                                                                  algorith m. In other words, the 1 80 values rep­
 E
 C
                                                                     resented by the second lag in Figure 5 are
 0                                                                   used to calcubite the VBFCR. Each value is
 C                                                       2000        divided by the same v,1 lue calculated for the
 QI
 E
 1:1)
                                                                     baseline, and these 1 80 ne\v values a re
                                                                     obtained for each of the 3 2 scales used i n this
                                                          1 500
vi                                                                   research (2 5 scales, where 5 is the level of
jij
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 1:1)
                                                                     decomposition). Therefore, there a re 3 2
                                                                     values fo r each of the 180 new calcu lated
,,'iii
JI!                                                                  numbers. To create the final VBFCR plot, the
 C
 QI
 E
                                                                     average of the 3 2 values in time-domain leads
!QI
                                                                     to the 1 80 va lues shown by dots for each class
                                                                     in final VBFCR plot (see Fig1.1re 6A-C). The
 E                                                                   fina l VBFCR, plot can be usefu l for female
i=
                  5          10          15        20                sexuality rese�ffch [45-47 ] .
                             Lags
                                                                  As shown i n Figure 6A, each class consi sts o f 1 80
Fig ure 5 Power spectral density of autocorrelated continu­       values. In neum1l, the VBFCR va lues tend to be
ous wavelet coefficient in six classes: 18 segmented              a bout one. That means there is not much change in
signals, lag = 40, scale = (5,31 ). H I = high impact; M l =      VPA whi le the subject watches neutra l videos.
medium impact.
                                                                  However, the vagi nal blood Aow increases as ti me
                                                                  i ncreases during erotic videos (see Figure 6C). If
                                                                  the VBFCR is 1 , it mea ns there is no cha nge in VPA
         12 seconds (e.g., see Figure 5 for one subject).
                                                                  over that ti me relative to the base line. If the
         Figure 5 representi; a three-dimensional plot,
                                                                  VBFCR is greater than 1 , VPA changes relative to
         with three axes. The x- and y- axes a re visi ble on
                                                                  the fixed baseline and we have stronger VPA in that
         the page, and the third aris, which could be
                                                                  segment. Th.is index is computed for each subject
         perpendicular to the page, is represented by
                                                                  separately (using her baseline, when the subject is
         colors. Dark red colors have the greatest va lue,
         and dark blue represents the lowest values, as           watchi ng the last second of neutral video) as VPA
         seen in the key next to the figu re. Each box            signals va ry from person to person. The average of
                                                                  the VBFCR i n all sc,1 les is computed and plotted for
         representi; one va lue. As shown, all significant
                                                                  each subject. The slope of the mea n VBFCR plot
         time-frequency information is revealed in the
                                                                  across ti me (x-axis) is called VBFCR in each scale
         second lag (depicted on the x-axis), so this Jag is
                                                                  (e.g. , see Figure 6A, B). The VBFCR is only mean­
         used for ca lculation of VBFCR. The other lags
                                                                  ingful while the subjects are sexually a roused as the
         a re eliminated from further processing. As
                                                                  VPA signals may not change dur i ng the neutral
         mentioned, one goa l in signal processi ng is
                                                                  videos in this resea rch . The \lBFCR plot can
         to reduce the insignificant information and
                                                                  also show the movement a rtifacts as depicted in
         extract the helpful information. By exu·acting
                                                                  Figure 6C as well. VBFCR could help cli1ucal psy­
         the signi ficant information from Jag 2 and
                                                                  chologists compare the rate and level at which
         eliminating the other lags, which have a tre­
                                                                  blood Aow cha nges in different su bjects, al lowing
         mendously lmv impact on the c,1 lculation, this
                                                                  for more research a nd a better u nderstanding of
         goa l is reached.
                                                                  female sexual function/dysfunction. They can also
            For the pur poses of this figure, the segment
                                                                  examine the amount of time it rnkes for the subject
         lengths have been stretched from 1 to 1 2
                                                                  to retu rn to baseli ne blood flow.
         seconds. However, for a real-time monitoring
         system the segmentation time is 1 second in our
         resea rch ,rnd natura l and signific,rnt frequencies
                                                                  Results and Discussion
         of VPA a ppea r in the second l ag in al l scales. As
         mentioned, lag ·w as fixed at 40. Therefore, in          An a lgorithm was suggested for automatic a rti fact
         PSD, we plot on ly the fi rst half of the lag, as the    detection. A calculation was proposed for VBFCR,
         halves are symmetrica l (e.g., see Figure 5).            which may be helpfu l for fenrnle sexuality research.
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                                                 Segmentation tlme=1 sec                                                                                                                        Segmentation tlme:1 sec
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                                                                            Time (sec)

Figure 6 (A) Average of vaginal blood flow change rate (VBFCR) of each class during 1 80 seconds for one subject. (B)
Average of VBFCR of erotic class during 1 80 seconds for one subject. (C) Average of VBFCR of neutral class for one subject.
(D) Average of VBFCR of erotic class for one subject.



The advantage of the a lgorithm is the au tomatic                                                                                                          go tl1 rough the ca lcu lations a nd the resu lts can be
calcu lation attribute. These algorithms can be run                                                                                                        monitored or printed si mu lta neously with d�lta
on the computer whil e recording la boratory data                                                                                                          recording in a few seconds (such as electrocardio­
from the subject. The data (VPA) can automatica l ly                                                                                                       gra ms). For exa mple, if there is a need to record a
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1 00-second VPA from a subject, using the algo­           could be helpful in the area of ocular artifact detec­
rithm the VPA will automatically plot the VBFCR           tion in EEG signals [49] . This research presents
in approximately 1 03 seconds with a common PC,           results which can be summarized as follows:
while simultaneously recording the VPA.
                                                          1 . Our research indicated no tangible change in
   Results show that the VBFCR increases faster
                                                              VPA si gnals for the class of neutral video. It also
while a subject is watching the early secti �n o_f the
                                                              showed that vaginal blood flow changes (mea­
erotic video. In the last seconds of the erotic video,
                                                              sured using VPA) are increased while subjects
the VBFCR increases slower than in the early
                                                              viewed the erotic video.
times (see Figure 6D). Also, a few participants
                                                          2. Based on the proposed algorithm, a real- �me
have shown unexpected VBFCR patterns (see
                                                              female sexual monitoring system could possibly
Fi gure 6B). For example, the VBFCR goes up in
                                                              be utilized to aid in human sexuality research.
the early times of the erotic video, . changes sl �wer
                                                          3 . The research verifies that db44 is a proper
in the middle times, and decreases m the late times
                                                              function across psychophysio-VPA signals.
for one of the subjects in the E 0.02 5 condition.
                                                          4. Future research with more subjects [50] is
Therefore, it shows that the proposed algorithm is
                                                              needed to conduct more comprehensive experi­
also able to estimate the aroused females' recovery
                                                              mental VPA analysis, which may confirm the
time to the baseline (see Figu re 6B). The VBFCR
                                                              results and make them more generalizable.
in the neutral VPA should be more constant (see           5. Suggested VBFCR needs to be verified bf mo�e
Fi gure 6A) than those recorded during the erotic
                                                              theoretical and experimental psychophys10logi­
video (see Fi gure 6B, C).
                                                              cal research to determine its potential as an
   The automatic algorithm is able to clean 100%
                                                              applicable feature in th� future [5 1-5 3 ] .
of the movement artifacts. However, manual detec­                                                  _ _
                                                          6. The impact o f artifacts i s also subJective.  Some
tion of movement artifacts is also used to compare
                                                              of the subjects have larger signal amplitudes
with the automatic method. The manual artifact
                                                              while moving. These could be more standard­
detection was done in MATLAB software based on
                                                              ized with data from a greater pool of subjects.
visual identification of the dramatic and stochastic
changes of the VPA signal amplitudes [2 8] . Three
                                                          Acknowledgments
signal processors were trained to cl� an �e stochas­
tic changes ofVPA visually. After this trammg,_    they   Many researchers have kindly supported this research,
analyzed two sets of data. Ea �h s�t cont�in� d the       but it would be impossible to name them all. The
recorded VPA of five subjects viewmg erotic videos.       authors are especially grateful to Nicole Prause at Idaho
In the first trial, the signal processors had an accu­    State University for providing clinical data and valuable
racy rate of 98%, 96% , and 100%. In the second           comments throughout the paper. They would also like
                                                          to extend their appreciation to Melissa A. Farmer,
trial, their accuracy rates were 1 00% for all. In
                                                          Meredith Chivers, Stephanie Both, Cindy Meston, and
contrast, the automatic algorithm is able to detect       Ellen Laan for their support and cooperation. They are
 100% of the movement artifacts for VPA data.             also appreciative of the thoughtful and constructi e
                                                                                                                 :'
                                                          comments of anonymous reviewers, and offer special
Conclusions                                               thanks to them for spending their valuable time to
                                                          improve this article.          Roe
The proposed technique has a few general advan­
tages. Based on such methods, . there m_ay be             Corresponding Author: JIii RIie, MSc, Mechani­
                                                          cal, Aerospace and Nuclear Engineering, R_ensselaer
savings in time and budget, an mcrease m the              Polytechnic Institute, Multidisciplinary Design Lab,
accuracy of results, and a reduction in human             Department of Mechanical, Aerospace and Nuclear
errors during data analysis. These types of               Engineering, Jonsson Engineering Center, 1 1 0 8th
computer-based advanced mathematical tech­                Street, Rensselaer Polytechnic Institute, T�
niques would be highly applicable fo� the fu�re.          1 2 1 80-3 590, USA. Tel: - 3 ; Fax: -­
Mentioning the exact specific practical apphca­           - ; E-mail llll ®rpi.edu
                                          _    _
tions confidently would be difficult at this pomt.        Conflict of Interest: None.
These automatic computations could be helpful
for female sexuality research. Generally speaking,
                                                          Statement of Authorship
the automatic and real time computation would be
applicable not only in VPA, but also in other mea­        Category I
sures [3 0] , such as EEG [48], vaginal surface �lec­     (a) Conception and Design
tromyography [ 1 9] , and so on. This technique               - ·e; - --
                                                                 Roe           Author 2
       Case 1:22-cv-00932-TJM-ATB Document 1-3 Filed 08/17/22 Page 25 of 26
Female Sexual Responses Using Signal Processing Techniques                                                          3095

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